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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                       DIVISION


              INTELLECTUAL TECH LLC               §
                                                  §
                           Plaintiff              §
                                                  §      CIVIL ACTION FILE NO:
               vs.                                §
                                                  §      WA:19-CV-00628-ADA
              ZEBRA TECHNOLOGIES                  §
              CORPORATION                         §

                           Defendant

ORDER DENYING IN PART DEFENDANT'S MOTION FOR SUMMARY JUDGMENT


The Court hereby DENIES Defendant’s Motion for Summary Judgment insofar as Defendant

argues the asserted claims are invalid as indefinite. The Court considered this argument at the

Claim Construction stage and declined to accept it then. It has not since changed its position. The

Court GRANTS Plaintiff two weeks to respond to the remaining arguments set forth in

Defendant’s Motion for Summary Judgment. Any response will thus be due on November 19,

2020.

        It is SO ORDERED on the 5th day of November, 2020.


                                              ______________________________
                                              Alan D Albright
                                              United States District Judge
